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20                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
21                                    SAN JOSE DIVISION

22   IN RE: APPLE INC. DEVICE                       Case No. 5:18-md-02827-EJD
     PERFORMANCE LITIGATION
23                                                  NOTICE OF MOTION AND MOTION
                                                    FOR PRELIMINARY APPROVAL OF
24   This Document Relates to:                      PROPOSED SETTLEMENT;
                                                    MEMORANDUM OF POINTS AND
25          ALL ACTIONS                             AUTHORITIES IN SUPPORT THEREOF

26                                                  Judge: Hon. Edward J. Davila
                                                    Courtroom: 4, 5th Floor
27                                                  Date: April 3, 2020
                                                    Time: 1:30 p.m.
28

                                                                          Case No. 5:18-md-02827-EJD
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 1                                  NOTICE OF MOTION AND MOTION

 2   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

 3             PLEASE TAKE NOTICE that on April 3, 2020, at 1:30 p.m., in Courtroom 4 of the United

 4   States District Court for the Northern District of California, Robert F. Peckham Federal Building &

 5   United States Courthouse, 280 South First Street, San Jose, California 95113, the Honorable Edward

 6   J. Davila, presiding, Named Plaintiffs1 will and hereby do move for an Order pursuant to Rule 23 of

 7   the Federal Rules of Civil Procedure (“Rule”): (i) preliminarily approving the proposed Settlement;

 8   (ii) certifying a class for settlement purposes (“Settlement Class”); (iii) approving the form and

 9   manner of notice to the Settlement Class; (iv) approving the selection of the Settlement

10   Administrator; and (iv) scheduling a Final Hearing before the Court.

11             The proposed Settlement is within the range of what is fair, reasonable, and adequate such

12   that notice of its terms may be disseminated to Settlement Class Members and a Final Hearing to

13   finally approve the proposed Settlement scheduled.

14             This motion is based upon this Notice of Motion and Motion, the Memorandum of Points

15   and Authorities set forth below, the accompanying Joint Declaration of Joseph W. Cotchett and

16   Laurence D. King in Support of Plaintiffs’ Motion for Preliminary Approval of Proposed Settlement,

17   dated February 28, 2020 (“Joint Declaration”), and the exhibits attached thereto, the Stipulation of

18   Settlement dated February 28, 2020 (“Stipulation” or “Settlement”), and the exhibits attached

19   thereto, the pleadings and records on file in this Action, and other such matters and argument as the

20   Court may consider at the hearing of this motion.

21                               STATEMENT OF ISSUES TO BE DECIDED

22              1.     Whether the proposed Settlement is within the range of fairness, reasonableness,

23   and adequacy as to warrant: (a) the Court’s preliminary approval; (b) certification of a Settlement

24   Class for settlement purposes; (c) the dissemination of Notice of its terms to Settlement Class

25   Members; and (d) setting a hearing date for final approval of the Settlement as well as application

26   of attorneys’ fees, service awards, and reimbursement of expenses;

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         All capitalized words are defined in the Stipulation unless otherwise noted.
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 1           2.      Whether the proposed Notice adequately apprises the Settlement Class Members of
 2   the terms of the Settlement and their rights with respect to it;
 3           3.      Whether the selection of Angeion Group as Settlement Administrator should be
 4   approved;
 5           4.      Whether the proposed Plan to Allocate Settlement proceeds should be preliminarily
 6   approved; and
 7           5.      Whether the Claim Forms are sufficient.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2           Named Plaintiffs respectfully submit this Memorandum of Points and Authorities in support

 3 of their Motion for Preliminary Approval of the Settlement in the above-captioned action (“Action”),

 4 and entry of the [Proposed] Order Certifying Settlement Class; Granting Preliminary Approval of

 5 Class Action Settlement; and Approving Form and Content of Class Notice (“Preliminary Approval

 6 Order”), attached as Exhibit D to the Stipulation. The Preliminary Approval Order will: (i) grant

 7 preliminary approval of the proposed class action settlement on the terms set forth in the Stipulation;

 8 (ii) certify a provisional Settlement Class; (iii) approve the form and manner of notice of the proposed

 9 Settlement to the Settlement Class; and (iv) schedule a hearing date for the final approval of the

10 Settlement (“Final Approval Hearing”) and a schedule for various deadlines in connection with the

11 Settlement.

12 I.        INTRODUCTION

13           After two years of hard-fought and contentious litigation, the Parties have reached an

14 agreement to resolve the proposed Settlement Class’s claims against Defendant Apple Inc.

15 (“Defendant” or “Apple”) pursuant to the accompanying Stipulation. The Settlement was reached

16 only after extensive, aggressive litigation and prolonged, well-informed, and extensive arm’s-length

17 negotiations—including several in-person mediation sessions and additional negotiations—between

18 experienced and knowledgeable counsel facilitated by mediator Judge Layn R. Phillips (Ret.) of

19 Phillips ADR. The Settlement, based upon a mediator’s proposal, was reached after extensive

20 motion practice and discovery.

21           During the course of the litigation, Named Plaintiffs, through co-lead counsel Cotchett,

22 Pitre & McCarthy, LLP, and Kaplan Fox & Kilsheimer LLP (“Class Counsel”), and/or their agents

23 had, among other things: (i) conducted a wide-ranging investigation into the Settlement Class’s

24 claims; (ii) filed two comprehensive complaints; (iii) successfully opposed Defendant’s motions to

25 dismiss as to certain theories of liability; (iv) engaged in a comprehensive discovery program,

26 including 19 depositions, responding to hundreds of discovery requests, reviewing more than

27 7 million pages of documents, and engaging in extensive motion practice over discovery issues; and

28 (v) consulted with expert consultants. As a result, Named Plaintiffs and Class Counsel had a

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 1 thorough understanding of the relative strengths and weaknesses of the claims asserted at the time

 2 the Settlement was reached.

 3            Named Plaintiffs submit that, as demonstrated below, this is an excellent recovery for the

 4 Settlement Class considering the substantial risks at class certification and trial. Based on an

 5 informed evaluation of the facts and governing legal principles, and their recognition of the

 6 substantial risk and expense of continued litigation, the Parties respectfully submit that the proposed

 7 Settlement is fair, reasonable, and adequate under Rule 23. Accordingly, Named Plaintiffs move for

 8 preliminary approval and submit this Memorandum of Points and Authorities in support thereof.

 9   II.      THE PROPOSED SETTLEMENT

10            The Settlement provides for a non-reversionary Minimum Class Settlement Amount of

11 $310 million, with a Maximum Class Settlement Amount of $500 million, in cash, for the benefit of

12 the proposed Settlement Class, comprised of all former or current U.S. iPhone2 owners.3

13            For a release of their claims, Settlement Class Members will receive $25.00 for each iPhone

14 owned, the amount of which may increase or decrease depending on the amount of any Attorneys’

15 Fees and Expenses, Named Plaintiff Service Awards, notice expenses, and the aggregate value of

16 Approved Claims. If payment of $25.00 for each iPhone device identified as Approved Claims, plus

17 the payment of Attorneys’ Fees and Expenses, Named Plaintiff Service Awards, and notice and

18 administration fees would not reach the Minimum Class Settlement Amount, the Residual will be

19 allocated according to the Stipulation, including increasing payments to Settlement Class Members

20 on a pro rata basis up to a maximum of $500. Conversely, if the number of iPhone devices identified

21 as Approved Claims, multiplied by $25.00, exceeds the Maximum Class Settlement Amount, then

22 the cash payment for each iPhone will be reduced on a pro rata basis in order to not exceed the

23 Maximum Class Settlement Amount.

24

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       “iPhone” means Apple iPhone 6, 6 Plus, 6s, 6s Plus, 7, 7 Plus, and SE devices. Stip. § 1.16.
     3
26     This Settlement will also encompass the California JCCP Action, captioned In re Apple OS Cases,
     JCCP No. 4976 (Cal. Super. Ct., S.F. Cty.). If the Court approves the proposed Settlement, the
27   California JCCP Action will be dismissed. Stip. § 9.1. There will not be a classwide settlement for
     non-U.S. Named Plaintiffs, who will be releasing their individual claims only. Because Non-U.S.
28   iPhone owners’ claims will not be released, they may pursue their own claims outside the Settlement.
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 1            Named Plaintiffs will also seek Service Awards of $3,500 for those who were deposed in

 2 the Action and $1,500 for all others. Finally, Class Counsel intend to seek up to 30% of the Minimum

 3 Class Settlement Amount, or $93 million, as reasonable attorneys’ fees, and no more than

 4 $1.5 million for out-of-pocket expenses. The Settlement is not conditioned upon the Court’s

 5 approval of the full (or any) amount of Service Awards or Attorneys’ Fees and Expenses.

 6   III.     BACKGROUND

 7            A.     Summary of the Litigation

 8            On December 20, 2017, Apple released a statement regarding a performance management

 9 feature in its iOS 10.2.1 and iOS 11.2 software to avoid unexpected power-offs (“UPOs”) from

10 occurring in its devices. Between December 2017 and June 2018, the Federal Actions, consisting of

11 66 underlying class action complaints, were filed against Apple. Beginning on April 4, 2018, the

12 Federal Actions were consolidated by the U.S. Judicial Panel on Multidistrict Litigation in the

13 Northern District of California pursuant to 28 U.S.C. § 1407, into MDL proceedings captioned In re

14 Apple Inc. Device Performance Litigation, No. 18-md-2827-EJD [Dkt. 1].

15            After their appointment [Dkt. 99], on July 2, 2018, Class Counsel filed a Consolidated

16 Amended Complaint (“CAC”) in the Action [Dkt. 145]. On October 1, 2018, the Court granted in

17 part and denied in part Apple’s motion to dismiss the CAC [Dkt. 219]. See In re: Apple Inc. Device

18 Perf. Litig., 347 F. Supp. 3d 434 (N.D. Cal. 2018).

19            On November 30, 2018, Class Counsel filed the operative Second Consolidated Amended

20 Complaint (“2CAC”) [Dkt. 244]. The 2CAC asserted claims for fraud, breach of contractual

21 relations, violation of the consumer protection laws, “trespass to chattels,” and violations of the

22 California Computer Data Access and Fraud Act (“CDAFA”) and the federal Computer Fraud Abuse

23 Act (“CFAA”). Id. On April 22, 2019, the Court granted in part and denied in part Apple’s motion

24 to dismiss the 2CAC [Dkt. 331]. See In re: Apple Inc. Device Perf. Litig., 386 F. Supp. 3d 1155

25 (N.D. Cal. 2019).4 The Court dismissed, with prejudice, claims that the iPhones were “defective,”

26 claims based on certain iPhone devices, and common law and statutory fraud claims (whether based

27   4
       Defendant also sought reconsideration of the Court’s first motion to dismiss order as to issues
28   concerning a worldwide class [Dkt. 236], which the Court resolved in this order. Id.
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 1 on a theory of affirmative misrepresentation or omission). Id. The Court also dismissed, without

 2 prejudice, claims related to Named Plaintiffs’ theory that Apple had breached contractual

 3 obligations. Id. The Court upheld the claims for trespass to chattels and claims under the CDAFA

 4 and CFAA. Id. Defendant answered the 2CAC on July 31, 2019 [Dkt. 365].

 5            The Parties engaged in extensive discovery in the Action. Class Counsel served more than

 6 170 document requests on Apple, in response to which Apple produced more than seven million

 7 pages of documents. Apple served written discovery and document requests to each of the Named

 8 Plaintiffs, who produced more than 6,000 pages of documents. The Parties deposed 19 individuals,

 9 including 10 Apple witnesses and nine Named Plaintiffs. The Parties also litigated several discovery

10 motions before the Hon. Rebecca Westerfield (Ret.) as Special Discovery Master, as well as before

11 this Court. See, e.g., In re Apple Inc. Device Perf. Litig., No. 5:18-md-02827-EJD, 2019 WL

12 1993916 (N.D. Cal. May 6, 2019); id., 2019 WL 3973752 (N.D. Cal. Aug. 22, 2019).

13            B.     Settlement Negotiations and Mediation
14            The Parties engaged in extensive, arms-length negotiations over the course of many months,

15 including several all-day, in-person mediation sessions and numerous additional discussions with

16 Judge Phillips, a former United States District Judge and highly respected mediator. After the third

17 in-person mediation with Judge Phillips on September 27, 2019, Judge Phillips made a mediator’s

18 proposal to the Parties. The Parties accepted the proposal, with continued involvement by the

19 mediator throughout the process of negotiating a term sheet and long-form settlement agreement.

20   IV.      SUMMARY OF AND REASONS FOR THE SETTLEMENT

21            It is respectfully submitted that the Settlement meets the legal standards for preliminary

22 approval and the Northern District of California’s Procedural Guidance for Settlement of Class

23 Action Settlements (the “Guidance”).5 Based upon their investigation, Named Plaintiffs and Class

24 Counsel concluded that the terms and conditions of the Stipulation are fair, reasonable, and adequate

25 to the Settlement Class and in their best interests. The Parties agreed to settle the Action pursuant to

26 the terms and provisions of the Stipulation, after considering: (i) the substantial benefits that

27   5
         https://www.cand.uscourts.gov/forms/procedural-guidance-for-class-action-settlements/          (last
28   visited Feb. 10, 2020).
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 1 Settlement Class Members will receive from resolution of the Action; (ii) the risks of continued

 2 litigation; and (iii) the desirability of permitting the Settlement to be consummated as provided by

 3 the terms of the Stipulation. See Stip. § 2.

 4            The Parties accepted the mediator’s proposal and settled the claims with an understanding

 5 of the strengths and weaknesses of their claims and defenses. Because the Settlement easily falls

 6 within the range of possible approval and is otherwise fair and reasonable, the Court should grant

 7 preliminary approval of the Settlement.

 8   V.       ARGUMENT

 9            A.      Legal Standards on Preliminary Approval

10            In deciding whether to approve a proposed settlement, the Ninth Circuit has a “strong

11 judicial policy that favors settlements, particularly where complex class action litigation is

12 concerned.” In re Hyundai and Kia Fuel Economy Litig., 926 F.3d 539, 556 (9th Cir. 2019); Officers

13 for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir. 1982); In re Heritage Bond Litig., No.

14 02-ML-1475 DT, 2005 WL 1594403, at *2 (C.D. Cal. June 10, 2005). “[T]here is an overriding

15 public interest in settling and quieting litigation,” and this is “particularly true in class action suits.”

16 Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976).

17            When the parties to a putative class action reach a settlement agreement prior to class

18 certification, “courts must peruse the proposed compromise to ratify both the propriety of the

19 certification and the fairness of the settlement.” Staton v. Boeing Co., 327 F.3d 938, 952 (9th Cir.

20 2003). First, the Court must assess whether a Rule 23 class exists. Id. (citing Amchem Prods. Inc. v.

21 Windsor, 521 U.S. 591, 620 (1997)).

22            If the Court determines that a Rule 23 class exists, the Court must then determine whether

23 the proposed Settlement “is fundamentally fair, adequate, and reasonable.” Hanlon v. Chrysler

24 Corp., 150 F.3d 1011, 1026 (9th Cir. 1998). At this stage, the Court “evaluate[s] the terms of the

25 settlement to determine whether they are within a range of possible judicial approval.” Wright v.

26 Linkus Enters., Inc., 259 F.R.D. 468, 472 (E.D. Cal. 2009). The Court does not need to “specifically

27 weigh[] the merits of the class’s case against the settlement amount and quantif[y] the expected value

28 of fully litigating the matter.” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009).
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 1 Instead, the Court may only evaluate whether the Settlement is “the product of an arms-length, non-

 2 collusive, negotiated resolution[].” Id.

 3            The Court may grant preliminary approval of the Settlement and direct notice to the

 4 Settlement Class if “the proposed settlement appears to be the product of serious, informed, non-

 5 collusive negotiations, has no obvious deficiencies, does not improperly grant preferential treatment

 6 to class representatives or segments of the class, and falls within the range of possible approval.” In

 7 re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007) (citing MANUAL FOR

 8 COMPLEX LITIGATION, 2d § 30.44 (2d ed. 1985)). The Court will also “schedule[] a fairness hearing

 9 where it will make a final determination of the class settlement.” In re Haier Freezer Consumer

10 Litig., No. 5:11-CV-02911-EJD, 2013 WL 2237890, at *3 (N.D. Cal. May 21, 2013) (citation

11 omitted).

12            B.      Conditional Class Certification of the Settlement Class is Warranted

13            The Settlement is conditioned upon the approval, for settlement purposes only, of the

14 following Settlement Class definition:

15            “Settlement Class” means all former or current U.S. owners of iPhone 6, 6 Plus, 6s,
              6s Plus, 7, 7 Plus, and SE devices running iOS 10.2.1 or later (for iPhone 6, 6 Plus,
16            6s, 6s Plus, and SE devices) or iOS 11.2 or later (for iPhone 7 and 7 Plus devices),
              and who ran these iOS versions before December 21, 2017. For purposes of this
17            definition, “U.S. owners” shall include individuals who owned, purchased, leased,
              or otherwise received an eligible device, and individuals who otherwise used an
18            eligible device for personal, work, or any other purposes. An individual qualifies as
              a “U.S. owner” if his or her device was shipped to the United States, its territories,
19            and/or its possessions. The Settlement Class shall not include iPhone owners who
              are domiciled outside of the United States, its territories, and/or its possessions.
20            Additionally, excluded from the Settlement Class are (a) directors, officers, and
              employees of Apple or its subsidiaries and affiliated companies, as well as Apple’s
21            legal representatives, heirs, successors, or assigns, (b) the Court, the Court staff, as
              well as any appellate court to which this matter is ever assigned and its staff, (c) any
22            of the individuals identified in paragraph 1.36, as well as their legal representatives,
              heirs, successors, or assigns, (d) Defense Counsel, as well as their immediate family
23            members, legal representatives, heirs, successors, or assigns, and (e) any other
              individuals whose claims already have been adjudicated to a final judgment.
24

25 Stip. § 1.32.

26            Class certification under Rule 23 is a two-step process. First, the plaintiff must demonstrate

27 that numerosity, commonality, typicality, and adequacy are met. Fed. R. Civ P. 23(a). “Class

28 certification is proper only if the trial court has concluded, after a ‘rigorous analysis,’ that Rule 23(a)
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 1 has been satisfied.” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 542 (9th Cir. 2013) (quoting

 2 Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011)). A plaintiff must then establish that one

 3 of the bases for certification in Rule 23(b) is met. Here, Named Plaintiffs must demonstrate that

 4 “questions of law or fact common to Class Members predominate over any questions affecting only

 5 individual members, and . . . [that] a class action is superior to other available methods for fairly and

 6 efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

 7                    1.      Named Plaintiffs Satisfy Rule 23(a) Prerequisites
 8            Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is

 9 impracticable.” Here, it is undisputed that millions of iPhones have been purchased and/or sold in

10 the United States. There can be no doubt that numerosity is satisfied in this litigation.

11            Rule 23(a)(2) requires that “there are questions of law or fact common to the class.” For

12 the purposes of Rule 23(a)(2), even a single common question is satisfactory. Wal-Mart, 564 U.S.

13 at 359. The common contention, however, “must be of such a nature that it is capable of classwide

14 resolution—which means that determination of its truth or falsity will resolve an issue that is central

15 to the validity of each one of the claims in one stroke.” Id. at 350. “What matters to class certification

16 . . . is not the raising of common ‘questions’—even in droves—but, rather the capacity of a classwide

17 proceeding to generate common answers apt to drive the resolution of the litigation.” Id. (citation

18 omitted); see also Noll v. eBay, Inc., 309 F.R.D. 593, 603 (N.D. Cal. 2015). Here, the proposed

19 Settlement Class satisfies the commonality requirement because, at a minimum, it is a common issue

20 whether the UPOs and the performance management feature that Apple introduced in iOS 10.2.1 and

21 iOS 11.2 to avoid UPOs affected the iPhones. Commonality is satisfied.

22            Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical

23 of the claims or defenses of the class.” “The purpose of the typicality requirement is to assure that

24 the interest of the named representative aligns with the interests of the class.” Ebarle v. Lifelock,

25 Inc., No. 15-cv-00258-HSG, 2016 WL 234364, at *4 (N.D. Cal. Jan. 20, 2016) (quoting Hanon v.

26 Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)). “The test of typicality is whether other

27 members have the same or similar injury, whether the action is based on conduct which is not unique

28 to the named plaintiffs, and whether other class members have been injured by the same course of
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 1 conduct.” Hanon, 976 F.2d at 508 (internal quotation marks omitted). Here, Named Plaintiffs are

 2 typical of the Settlement Class they seek to represent. Like other Settlement Class Members, Named

 3 Plaintiffs purchased Apple’s iPhones, and were affected by the UPOs and the performance

 4 management feature Apple introduced in iOS 10.2.1 and iOS 11.2 to avoid the UPOs. 2CAC ¶¶ 31-

 5 270. Named Plaintiffs’ claims arise from Defendant’s iPhones and, as such, Named Plaintiffs are

 6 typical of the Settlement Class Members.

 7           Finally, under Rule 23(a)(4), Named Plaintiffs must demonstrate that they and their counsel

 8 do not have any conflicts of interest with other Settlement Class Members and, further, that Named

 9 Plaintiffs and their counsel will prosecute the action vigorously on behalf of the class. See Ebarle,

10 2016 WL 234364, at *4 (citing In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 462 (9th Cir. 2000)).

11 Here, Named Plaintiffs have no conflicts of interest with other Settlement Class Members; indeed,

12 Named Plaintiffs are equally interested in demonstrating Apple’s alleged violations. Moreover,

13 Class Counsel, who also do not have any conflicts with Settlement Class Members, have substantial

14 experience prosecuting class actions. See Joint Decl., Exs. 1 and 2. Named Plaintiffs and Class

15 Counsel have prosecuted this Action vigorously, and successfully, on behalf of the Settlement Class,

16 and will continue to do so.

17                   2.     Plaintiffs Satisfy Rule 23(b) Standards
18           Named Plaintiffs seek conditional certification under Rule 23(b)(3), which provides that a

19 class action can be maintained where: (1) the questions of law and fact common to members of the

20 class predominate over any questions affecting only individuals; and (2) the class action mechanism

21 is superior to the other available methods for the fair and efficient adjudication of the controversy.

22 eBay, 309 F.R.D. at 604. Here, every Settlement Class Member alleged that they were subjected to

23 the performance management feature that slowed down their iPhone and otherwise caused harm to

24 each Settlement Class Member. This common question can be resolved for all members of the

25 proposed Settlement Class in a single adjudication.

26           Named Plaintiffs must also demonstrate that a class action is the “most efficient and

27 effective means of resolving the controversy.” eBay, 309 F.R.D. at 604 (quoting Wolin v. Jaguar

28 Land Rover N. Am., LLC, 617 F.3d 1168, 1175-76 (9th Cir. 2010)). A “class action mechanism is
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 1 superior to individual actions in consumer cases with thousands of members as ‘Rule 23(b)(3) was

 2 designed for situations such as this . . . in which the potential recovery is too slight to support

 3 individual suits, but injury is substantial in the aggregate.’” Id. (quoting Holloway v. Full Spectrum

 4 Lending, No. 06–cv–5975, 2007 WL 7698843, at *9 (C.D. Cal. June 26, 2007)). Here, the class

 5 action mechanism is superior for resolving this matter given the very large size of the proposed class

 6 weighed against the expense and burden of individual actions. Any Settlement Class Member who

 7 wishes to opt out may do so.6

 8            Because Named Plaintiffs satisfy the Rule 23 requirements, the Court should grant

 9 conditional certification of the Settlement Class.

10            C.     The Proposed Settlement Should Be Preliminarily Approved

11            As the Ninth Circuit has articulated, “the very essence of a settlement is compromise, ‘a

12 yielding of absolutes and an abandoning of highest hopes.’” Officers for Justice, 688 F.2d at 624

13 (quoting Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)).

14            [I]t is the very uncertainty of outcome in litigation and avoidance of wasteful and
              expensive litigation that induce consensual settlements. The proposed settlement is
15            [thus] not to be judged against a hypothetical or speculative measure of what might
              have been achieved by the negotiators.
16

17 Id. at 625. As demonstrated below, Named Plaintiffs submit that the proposed Settlement is fair and

18   just. Given the complexity of this litigation, the potential difficulty of proving certain elements of

19   the Settlement Class’s claims, and the continued risks if the Parties proceeded to class certification,

20   dispositive motions, and trial, the Settlement provides an immediate and substantial cash benefit to

21   Settlement Class Members, represents a favorable resolution of this Action, and eliminates the risk

22   that the Settlement Class might otherwise recover nothing.

23

24

25   6
      “[I]n the context of settlement, the other requirements of Rule 23(b)(3) such as ‘the desirability or
26   undesirability of concentrating the litigation of the claims in the particular forum’ and ‘the likely
     difficulties in managing a class action[,]’ see Fed. R. Civ. P. 23(b)(3)(C)–(D), ‘are rendered moot
27   and are irrelevant.’” Spann v. JC Penney Corp., 314 F.R.D. 312, 323 (C.D. Cal. 2016) (quoting
     Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431, 444 (E.D. Cal. 2013); Amchem Prods.,
28   521 U.S. at 620).
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 1                   1.     The Proposed Settlement is the Product of an Arms-Length, Non-
                            Collusive, Negotiated Resolution
 2
                            a.      The Proposed Settlement is the Product of a Mediator’s
 3                                  Proposal and is Supported by Experienced Counsel
 4           Courts recognize that the opinion of experienced counsel supporting settlement after

 5 vigorous arm’s-length negotiations is entitled to considerable weight. See, e.g., Ellis v. Naval Air

 6 Rework Facility, 87 F.R.D. 15, 18 (N.D. Cal. 1980), aff’d, 661 F.2d 939 (9th Cir. 1981) (“the fact

 7 that experienced counsel involved in the case approved the settlement after hard-fought negotiations

 8 is entitled to considerable weight”); Spann, 314 F.R.D. at 323-24. Courts also recognize that

 9 agreements based upon a mediator’s proposal demonstrate non-collusive conduct. See, e.g., Ebarle,

10 2016 WL 234364, at *6 (finding that acceptance of a mediator’s proposal following mediation

11 sessions “strongly suggests the absence of collusion or bad faith”); Spann, 314 F.R.D. at 324 (same).

12           Here, the Parties actively and aggressively litigated the Action, and Class Counsel

13 conducted an extensive investigation into and prosecution of the alleged claims. Class Counsel also

14 engaged in a rigorous negotiation process with Defense Counsel, and fully considered and evaluated

15 the fairness of the Settlement to the Settlement Class. The Parties’ settlement negotiations were

16 protracted and hard-fought and included the determined assistance of an experienced mediator. At

17 Judge Phillips’ direction, the Parties submitted comprehensive mediation and supplemental

18 statements. After submitting their statements, counsel for all Parties attended in-person mediations

19 before Judge Phillips on January 7, 2019, August 28, 2019, and on September 27, 2019. The Parties

20 gave detailed and thoughtful presentations of their respective cases. And, Judge Phillips gave the

21 Parties a reasonable assessment of the strengths and weaknesses of their case. It was only after

22 several months of intense discussions and a meditator’s proposal that the Parties were ultimately able

23 to reach an agreement, and several more months of further negotiations and the mediator’s

24 intervention that the Parties were able to agree on the terms of the Settlement.

25           Additionally, throughout the Action and settlement negotiations, Apple has been vigorously

26 represented by Gibson, Dunn & Crutcher LLP and Covington & Burling LLP, their representation

27 of Defendant being no less rigorous than Class Counsel’s representation of the Settlement Class.

28 Because the Settlement is the product of serious, informed, and non-collusive negotiations among
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 1 experienced counsel and the product of a mediator’s proposal, it deserves preliminary approval. See

 2 Villegas v. J.P. Morgan Chase & Co., No. CV 09–00261 SBA (EMC), 2012 WL 5878390, at *6

 3 (N.D. Cal. Nov. 21, 2012) (noting that private mediation “tends to support the conclusion that the

 4 settlement process was not collusive”).

 5                          b.      The Stage of the Proceedings and the Discovery Completed
                                    Support the Settlement
 6

 7           In a class action setting, courts also look for indications that the parties carefully

 8 investigated the claims before reaching a resolution, including propounding and reviewing discovery.

 9 In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab. Litig., No. 2672 CRB

10 (JSC), 2016 WL 6248426, at *14 (N.D. Cal. Oct. 25, 2016) (“extensive review of discovery materials

11 indicates [Plaintiffs have] sufficient information to make an informed decision about the Settlement.

12 As such, this factor favors approving the Settlement.”); see also In re Portal Software Sec. Litig.,

13 No. C-03-5138 VRW, 2007 WL 4171201, at *4 (N.D. Cal. Nov. 26, 2007).

14           As discussed above, Class Counsel (or their agents) engaged in extensive investigation,

15 research, and analysis of the Settlement Class’s claims, resulting in the Court upholding in part the

16 CAC and 2CAC. Named Plaintiffs thereafter aggressively pursued discovery from Apple through

17 multiple requests for production of documents and interrogatories, intensive meet and confers, and

18 discovery motion practice before Judge Westerfield and this Court. Apple produced over seven

19 million pages of fact-related material for review. Named Plaintiffs also took the depositions of 10

20 Apple witnesses, the presumptive limit under Rule 30(a). The witnesses included software and

21 hardware engineers who had detailed knowledge of the relevant issues. In addition, Named Plaintiffs

22 subpoenaed documents from several non-parties, such as cell phone carriers, engaged in multiple

23 discussions concerning the subpoenas with both the non-parties as well as with Apple, and obtained

24 documents in connection with the subpoenas. This discovery allowed Named Plaintiffs to adequately

25 evaluate the merits of their claims.

26           Moreover, as set forth above, the Parties engaged in no less than three in-person mediations

27 and received a reasonable assessment of the strengths and weaknesses of their case and a mediator’s

28
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 1 proposal. Considering this, the litigants had sufficient bases to make informed decisions about the

 2 relative merits of the case and the fairness of the Settlement.

 3                   2.      The Procedural Guidance for Class Action Settlements Factors are
                             Satisfied
 4

 5            On November 1, 2018, the Northern District of California adopted the Guidance, which is

 6 applicable to this Action. We set forth below, in the order of the Guidance for the Court’s

 7 convenience, a discussion of how the Guidance applies to the proposed Settlement.

 8                           a.     Guidance 1: Differences, Range, and Plan of Allocation
 9                                   i.     Guidance 1a.-d.: Differences in the Proposed Settlement
                                            Class and the Class Proposed in the 2CAC
10

11            Section 1 of the Guidance requires a discussion as to any differences between the Settlement

12 Class and that proposed in the operative complaint, as well as any differences between the claims to

13 be released and the claims to be certified for class treatment. Courts have routinely approved such

14 changes between the proposed settlement class definition and that proposed in the complaint, or

15 changes between the claims to be released in the settlement and claims to be certified for class

16 treatment. See, e.g., In re Netflix Privacy Litig., No. 5:11-CV-00379 EJD, 2012 WL 2598819, at *1

17 (N.D. Cal. July 5, 2012) (different settlement class definition than that in the Consolidated Class

18 Action Complaint, filed Sep. 12, 2011 [Dkt. 61]).7

19            Here, the proposed Settlement Class is different from that proposed in the 2CAC.

20 Specifically, while the 2CAC included non-U.S. owners, the proposed Settlement Class is defined

21 as to only include former or current U.S. owners of the relevant Apple devices, and does not include

22 non-U.S. owners. But importantly, the non-U.S. owners will NOT release any class claims in this

23
     7
24    See also, e.g., Schneider v. Chipotle Mexican Grill, Inc., No. 16-cv-02200-HSG, 2020 WL 511953,
     at *5-6 (N.D. Cal. Jan. 31, 2020) (approving modified settlement class definition from classes
25   certified); Spann, 314 F.R.D. at 318-25 (same); In re Chrysler-Dodge-Jeep Ecodiesel Mkting, Sales
     Practices, and Prods. Liab. Litig., No. 17-md-02777-EMC, 2019 WL 536661, at *3-7 (N.D. Cal.
26   Feb. 11, 2019) (approving settlement class definition that was different from complaint); Peel v.
     Brooksamerica Mortg. Corp., No. SACV 11-00079-JLS (RNBx), 2014 WL 12589317, at *3-4 (C.D.
27   Cal. Nov. 13, 2014) (approving modified settlement class definition from classes certified);
     Cohorst v. BRE Properties, Inc., No. 3:10-cv-2666-JM-BGS, 2011 WL 13356361, at *2 (S.D. Cal.
28   May 6, 2011) (approving settlement class definition that was different from complaint).
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 1 Settlement.8 Stip. § 1.32.

 2            The reason for this difference in the scope of the class in the 2CAC and the proposed

 3 Settlement Class is the substantial uncertainty as to the propriety of a worldwide class. To Named

 4 Plaintiffs’ knowledge, a court has not certified a worldwide class in any U.S. litigation. And, as

 5 Apple argued, among other things, Named Plaintiffs are not entitled to pursue claims on behalf of

 6 non-U.S. claimants, that California law does not apply nationwide (or beyond U.S. borders), and that

 7 Named Plaintiffs and the putative class are not entitled to any relief. Indeed, in multiple motions,

 8 Defendant argued that the claims brought by Non-U.S. Plaintiffs should be dismissed for lack of

 9 jurisdiction, contending that the contracts at issue require that the law of the country of purchase

10 govern, that California and federal law do not apply extraterritorially, and that “fundamental policy

11 interests” and choice-of-law principles require dismissal.9

12            Specifically, Defendant has argued that the laws of the various countries should apply

13 because each country has “fundamental policy interests” that are different from California’s interests

14 and that the laws of the foreign country should apply. See Dkt. 176 at 7-13; Dkt. 236-1 at 13-20;

15 Dkt. 272 at 34-35. Citing to a number of scholars’ declarations, Apple contends that there are a

16 number of substantive and procedural differences between the laws of the foreign countries and that

17 of California’s, and that the foreign jurisdictions have an interest in applying their laws to the alleged

18 injuries that occurred within their borders. See id.

19            The Court took notice of Apple’s arguments. In its April 22, 2019 Order Granting Motion

20 for Reconsideration; Granting in Part and Denying in Part Motion to Dismiss (Dkt. 315), the Court

21 denied the motion to dismiss on conflict-of-laws grounds without prejudice, finding that it was

22 “premature to conduct a detailed choice-of-law analysis at this stage of the litigation. Courts have

23 declined to conduct such an analysis at the motion to dismiss stage where further development of the

24 record is necessary to property decide the choice-of-law question.” In re Apple Inc., 386 F. Supp.

25   8
       With the exception that Non-U.S. Named Plaintiffs will release their claims to receive a Service
     Award.
26   9
       See Def. Apple Inc.’s Not. of Mot. and Mot. to Dismiss Pls’ 2d Consol. Am. Compl, filed Jan. 24,
27   2019 [Dkt. 272]; Def. Apple Inc.’s Mot. for Reconsideration or, in the Alt., for Cert. of Interlocutory
     Appeal, filed Nov. 15, 2018 [Dkt. 236-1]; Def. Apple Inc.’s Not. of Mot. and Mot. to Dismiss Pls’
28   Consol. Am. Compl., filed Aug. 9, 2018 [Dkt. 176].
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 1 3d at 1170 (citation omitted). However, the Court pointed out that the declarations submitted by

 2 Apple “appear to show a conflict with fundamental policies of a foreign jurisdiction.” Id. Indeed,

 3 the Court noted the conflicts such as “(1) whether foreign counties would enforce a choice-of-law

 4 provision that points to the law of a country with less robust consumer protection laws, (2) whether

 5 foreign countries use the preponderance of the evidence standard, and (3) whether foreign countries

 6 recognize punitive damages.” Id. And although the Court denied the motion to dismiss, the Court

 7 determined and “reiterated its earlier conclusion that the practical and constitutional ‘concerns that

 8 Apple raises are substantially and potentially well-founded.’” Id.

 9           As the Court itself foreshadowed, whether Named Plaintiffs would have succeeded in

10 obtaining class certification or surviving a motion for summary judgment as to the Non-U.S.

11 Plaintiffs and for the countries they seek to represent is questionable at best. Id. Thus, the proposed

12 Settlement Class agreed to by the Parties does not include non-U.S. residents. While the non-U.S.

13 Named Plaintiffs will be releasing their individual claims, no other claims will be released on behalf

14 of non-U.S. residents, and they will be free to pursue their own claims outside the Settlement if they

15 wish to do so.

16                                  ii.     Guidance 1e.: The Proposed Settlement Provides a
                                            Favorable Recovery and Falls Within a Range of
17                                          Possible Approval
18           The Guidance also requires an analysis of the anticipated class recovery under the

19 Settlement and the potential class recovery if Named Plaintiffs fully prevailed on their claims, and

20 an explanation as to the differences. Here, the non-reversionary Minimum Class Settlement Amount

21 of $310 million (and Maximum Class Settlement Amount of $500 million) is substantial by any

22 measure, and certainly falls within a range of possible approval. Based on a damage analysis by

23 Named Plaintiffs’ consultant, had Named Plaintiffs fully prevailed on every one of their remaining

24 claims, Named Plaintiffs anticipate that damages would have amounted to between $18 and $46 per

25 iPhone. As such, a $25 per iPhone recovery is considerable by any degree, amounting to about a

26 54% recovery per iPhone.

27           However, there is the real and substantial risk that Named Plaintiffs would not be able to

28 obtain any recovery at all. Because class certification had not been briefed, and no dispositive
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 1 motions had been made, there is the possibility that the Court may ultimately determine that either

 2 class certification is unwarranted or find for Defendant at summary judgment. For example, Apple

 3 has argued throughout the litigation that even if a plaintiff downloaded iOS 10.2.1 software on his

 4 or her iPhone, it does not automatically follow that that individual experienced any problems

 5 whatsoever. That is because, according to Apple, whether a particular iPhone user was damaged

 6 depended upon how that person used the iPhone. And given the above arguments concerning, among

 7 other things, the viability of a worldwide class, although Named Plaintiffs firmly believe that their

 8 liability case is strong and that class certification is warranted, it is uncertain whether the Court would

 9 ultimately grant certification of a litigation class, deny Defendant’s motion for summary judgment,

10 or make a finding that Named Plaintiffs are entitled to any damages. See Vizcaino v. U.S. Dist. Ct.

11 for W.D. Wash., 173 F.3d 713, 721 (9th Cir. 1999). Even if Named Plaintiffs were able to obtain

12 class certification for trial and could successfully oppose any motion for summary judgment, and

13 even if Named Plaintiffs could have successfully proven liability at trial, Named Plaintiffs could still

14 recover nothing because the fact and amount of damages that could be recovered in this case are still

15 uncertain. Accord Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979, 986 (9th Cir. 2015).

16            Compared with cases where courts have preliminarily approved settlements with amounts

17 lower than potential damages, the Class Settlement Amounts here constitute a substantial percentage

18 of recoverable damages in this Action. See, e.g., Linney v. Cellular Alaska P’ship, 151 F.3d 1234,

19 1242 (9th Cir. 1998) (“The fact that a proposed settlement may only amount to a fraction of the

20 potential recovery does not, in and of itself, mean that the proposed settlement is grossly inadequate

21 and should be disapproved.”) (citation omitted); Schaffer v. Litton Loan Serv., LP., No. CV 05-07673

22 MMM (JCx), 2012 WL 10274679, at *11 (C.D. Cal. Nov. 13, 2012) (“Estimates of a fair settlement

23 figure are tempered by factors such as losing at trial, the expense of litigating the case, and the

24 expected delay in recovery (often measured in years).”); Roe v. Frito-Lay, Inc., No. 14-cv-00751-

25 HSG, 2016 WL 4154850, at *7 (N.D. Cal. Aug. 5, 2016) (noting that “the risks and costs associated

26 with class litigation weigh strongly in favor of settlement” where “Plaintiff would [have been]

27 required to successfully move for class certification under Rule 23, survive summary judgment, and

28 receive a favorable verdict capable of withstanding a potential appeal”).
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 1           Given the anticipated disputes that would inevitably lie ahead, including class certification

 2 and summary judgment and given Defendant’s vigorous arguments as to the merits, it is not an

 3 overstatement to say that Named Plaintiffs faced significant risk. And, even if Named Plaintiffs

 4 successfully proved their case at trial, the amount of recovery, if any, could vary widely depending

 5 on other factors, including the Court’s discretion. Importantly, even if anything were recovered, it

 6 would take years to secure, as Apple would undoubtedly appeal any adverse judgment.                   In

 7 comparison, the Settlement provides a guaranteed, fixed, immediate, and substantial cash recovery

 8 of at least $310 million.

 9                                 iii.    Guidance 1f.-g.: The Plan to Allocate Should Be
                                           Preliminarily Approved
10

11           Section 1 further requires Named Plaintiffs to detail their proposed allocation plan, an

12 expectation as to the number of claims to be made, and whether there is any reversion of the Class

13 Settlement Amounts. Here, only U.S. owners will be provided relief of at least the $310 million non-

14 reversionary Minimum Class Settlement Amount.10 And, claims will be computed using the method

15 described in the Settlement. Stip. §§ 5.1-5.3; see also id., Ex. A (Claim Form).

16           Settlement Class Members who make a claim will receive cash, the actual amount received

17 depending on the amount of any Attorneys’ Fees and Expenses, Named Plaintiff Service Awards,

18 notice and administration expenses, and the number of Approved Claims. Each Settlement Class

19 Member is eligible to obtain $25 per iPhone. Id. § 5.1. The actual amount may increase or decrease,

20 depending on whether the aggregate value of Approved Claims, minus various deductions, reaches

21 the Minimum Class Settlement Amount of $310 million or the Maximum Class Settlement Amount

22 of $500 million. If the aggregate cash payment does not reach the non-reversionary Minimum Class

23 Settlement Amount, the Residual will be allocated according to the provisions of the Settlement,

24 including giving pro rata increases of up to $500 per Approved Claim. Id. §§ 5.3.1-5.3.2. If the

25 aggregate cash payment to Settlement Class Members exceeds the $500 Maximum Class Settlement

26 Amount, the actual cash payment for each iPhone identified in the Approved Claims will be reduced

27   10
       Except Non-U.S. Named Plaintiffs, whose claims will be released in the Settlement, other non-
28   U.S. owners may seek relief separately.
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 1 pro rata to ensure that the aggregate cash payment does not exceed $500 million. Id. § 5.2. In the

 2 unlikely event that the total amount calculated does not reach the Minimum Class Settlement Amount

 3 following any pro rata adjustments up to $500 per Device, the Parties would confer on the

 4 distribution of the remaining amount. Id. § 5.3.3. In no event would any of the Residual revert to

 5 Apple. The Plan has a reasonable and rational basis for distribution and provides a cash payment to

 6 any Settlement Class Member who purchased an iPhone.

 7           Courts have approved similar settlement terms and allocation plans in class actions alleging

 8 consumer deception. For instance, this Court has approved a settlement with terms similar to those

 9 the Parties are entering into here. In In re Haier, the plaintiffs there alleged that the defendant’s

10 product allegedly had a defect and asserted claims under, among others, the state consumer protection

11 acts. Id., 2013 WL 2237890, at *1. This Court approved the proposed allocation plan whereby the

12 defendant guaranteed a minimum settlement amount but would contribute up to a maximum

13 settlement amount, basing actual payments “on the number and amount of authorized claims

14 submitted.” Id. at *2. The defendant further agreed to pay for the costs and expenses for notice and

15 for settlement administration, and for reasonable attorneys’ fees and expenses. Id.

16           Similarly, in Beck-Ellman v. Kaz USA, Inc., No. 3:10-CV-02134-H-DHB, 2013 WL

17 1748729, at *3 (S.D. Cal. Jan. 7, 2013), the court approved a settlement in which the plaintiffs

18 brought claims under California’s consumer protection acts for misleading product information. The

19 defendants there, in addition to injunctive relief, guaranteed a minimum settlement amount for class

20 members who submitted valid and timely claims, up to a maximum settlement amount. Id. at *2-3.

21 The defendants also agreed to pay the costs of providing notice and for the administration of the

22 settlement, separate and apart from the settlement amount. Id. at *3.

23           Other cases where courts have approved similar minimum and maximum settlement amount

24 terms as in this Action include Lewis v. Green Dot Corporation, No. CV 16-3557 FMO (AGRx),

25 2017 WL 4785978 (C.D. Cal. June 12, 2017), McNeal v. RCM Technologies USA Inc., No. 2:16-cv-

26 05170-ODW(SSx), 2017 WL 1807595 (C.D. Cal. Mar. 16, 2017), Lemus v. H & R Block Enterprises

27 LLC., No. C 09-3179 SI, 2012 WL 3638550 (N.D. Cal. Aug. 22, 2012), and In re TD Ameritrade

28 Account Holder Litigation, No. C 07-2852 SBA, 2011 WL 4079226 (N.D. Cal. Sept. 13, 2011).
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 1           Concerning claims rates, a recent study by the Federal Trade Commission, based on data

 2 from 124 consumer class actions gathered from claims administrators, calculated the weighted mean

 3 claims rate between 4%-5%.11 Here, Class Counsel expect the claims rate to be at the high end of

 4 the range, or greater, taking into consideration not only Defendant’s brand recognition, but also the

 5 fact that the Settlement Administrator will be providing direct notice to Settlement Class Members,

 6 as well as the substantial media coverage of the issues in the case.

 7                          b.      Guidance 2: The Proposed Settlement Administrator
 8           In connection with preliminary approval, the Parties request that the Court authorize the

 9 retention of Angeion Group (“Angeion”) as Settlement Administrator for the Settlement. Stip.

10 § 1.29. Angeion—which is currently serving as administrator in two of Class Counsel’s class action

11 settlements12—is a nationally recognized notice and claims administration firm and has extensive

12 experience in class actions and on notice issues. Based on information obtained from Defendant,

13 Angeion was selected over two other administrators that submitted bids.

14           Based on information provided by Apple, it will cost up to $12.75 million for Angeion to

15 fully administer the Settlement in this Action. Pursuant to the Settlement, Apple will pay the

16 reasonable costs and expenses of notice and administration. Id. § 6.1. Angeion’s costs and expenses

17 will not affect the amount to be paid to Settlement Class Members in the Settlement unless the

18 Minimum Class Settlement Amount is not reached, whereupon Angeion’s costs and expenses may

19 come from the Minimum Class Settlement Amount. Id. § 5.3.1.

20                          c.      Guidance 3: The Proposed Notices to the Settlement Class are
                                    Adequate
21
             Under Rule 23(c)(2)(B), settlement notice must be “the best notice that is practicable under
22
     the circumstances, including individual notice to all members who can be identified through
23
     11
        See Federal Trade Commission, CONSUMERS AND CLASS ACTIONS: A RETROSPECTIVE AND
24   ANALYSIS OF SETTLEMENT CAMPAIGNS (Sept. 2019) at p. 21. Accessible at
     https://www.ftc.gov/system/files/documents/reports/consumers-class-actions-retrospective-
25   analysis-settlement-campaigns/class_action_fairness_report_0.pdf (last reviewed Feb. 9, 2020).
     12
26      Kaplan Fox & Kilsheimer LLP recently retained Angeion as claims administrator in connection
     with the settlement that was preliminarily approved by the court in Schneider, 2020 WL 511953.
27   Cotchett, Pitre & McCarthy, LLP had retained Angeion as claims administrator in connection with
     the settlement approved by the court in In re: Lenovo Adware Litig., No. 15-md-02624-HSG, 2018
28   WL 6099948 (N.D. Cal. Nov. 21, 2018).
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 1 reasonable effort.” See also Rule 23(e)(1) (“The court must direct notice in a reasonable manner to

 2 all class members who would be bound by the propos[ed settlement].”). Notice “must generally

 3 describe[] the terms of the settlement in sufficient detail to alert those with adverse viewpoints to

 4 investigate and to come forward and be heard.” Lane v. Facebook, Inc., 696 F.3d 811, 826 (9th Cir.

 5 2012) (citation omitted).

 6           The proposed direct notice procedure and the information to be posted on a Settlement

 7 Website meet the requirements under Rules 23(c)(2)(B) and 23(e)(1). Specifically, Apple will

 8 provide the Settlement Administrator with the email address of record on the Apple ID account of

 9 the members of the Settlement Class, as well as names, mailing addresses, and relevant iPhone serial

10 numbers. Stip. § 6.2.2. Emails of the Summary Notice will be sent by the Settlement Administrator

11 to those whose email addresses are valid; otherwise, the Settlement Administrator will mail a copy

12 of the Summary Notice to that Settlement Class Member. Id.; see also id., Ex. C. A copy of the

13 Class Notice, together with the Claim Form and various Court orders and other filings, will be posted

14 and available for download on the Settlement Website. Id. § 6.2.1. Finally, the Parties may jointly

15 agree to provide additional notice with approval from the Court. Id. § 6.2.5.

16           Rule 23(h)(1) requires that “[n]otice of the motion [for attorneys’ fees] must be served on

17 all parties and, for motions by class counsel, directed to class members in a reasonable manner.” The

18 proposed Class Notice satisfies the requirements of Rule 23(h)(1), as it notifies Settlement Class

19 Members that Class Counsel will apply to the Court for attorneys’ fees and costs as a percentage of

20 the Minimum Class Settlement Amount and its impact on Settlement Class Members, if any. See

21 Stip., Ex. B. The proposed Class Notice further describes the proposed Settlement and sets forth,

22 among other things: (1) the nature, history, and status of the litigation; (2) the definition of the

23 Settlement Class and who is excluded from the Settlement Class; (3) the reasons the Parties propose

24 the Settlement; (4) the Minimum and Maximum Class Settlement Amounts; (5) the estimated

25 reimbursement per individual; (6) the Settlement Class’s claims and issues; (7) the Parties’

26 disagreement over damages and liability; (8) the amount of Service Awards for Named Plaintiffs;

27 (9) the plan for allocating the Settlement proceeds to the Settlement Class; and (10) the date, time,

28 and place of the Final Hearing. See id.
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 1           The notice program proposed in connection with the Settlement and the form and content

 2 of the Class Notice and Claim Form, therefore, satisfy the requirements of Rule 23. Accord eBay,

 3 309 F.R.D. at 604-5. Courts routinely find that comparable notice procedures meet the requirements

 4 of due process and Rule 23. See id.; see Williamson v. McAfee, Inc., No. 5:14-cv-00158-EJD, 2016

 5 WL 4524307, at *7-8 (N.D. Cal. Aug. 30, 2016); Russell v. Kohl’s Dept. Stores, Inc., No. ED CV

 6 15-1143 RGK (SPx), 2016 WL 6694958, at *5 (C.D. Cal. Apr. 11, 2016). Accordingly, in granting

 7 preliminary approval of the Settlement, Named Plaintiffs similarly request that the Court approve

 8 the proposed form and method of giving notice to the Settlement Class.

 9                          d.      Guidance 4 and 5: Opt-Outs and Objections
10           The proposed Class Notice complies with Rule 23(e)(5) in that it discusses the rights

11 Settlement Class Members have concerning the Settlement. The proposed Class Notice includes

12 information on a Settlement Class Member’s right to: (1) request exclusion and the manner for

13 submitting such a request; (2) object to the Settlement, or any aspect thereof, and the manner for

14 filing and serving an objection; and (3) participate in the Settlement and instructions on how to

15 complete and submit a Claim Form to the Settlement Administrator. See Stip., Ex. B. The Notice

16 also provides contact information for Class Counsel, as well as the postal address for the Court. Id.

17                          e.      Guidance 6: The Intended Attorneys’ Fees and Expenses
                                    Request
18

19           As set forth in the proposed Notice, Class Counsel anticipate seeking attorneys’ fees up to

20 30% of the Minimum Class Settlement Amount, or $93 million, plus out-of-pocket expenses of up

21 to $1.5 million.

22           As of January 31, 2020, Class Counsel and committee members have devoted

23 approximately 56,533 hours to litigating this Action, for a lodestar of $29,465,005. See Joint Decl.

24 ¶ 8.13 Class Counsel’s request for a fee up to 30% of the Minimum Class Settlement Amount thus

25   13
       These hour and lodestar figures include the time spent by all Court-appointed counsel in the MDL
26   from the date of appointment through November 30, 2019, the latest quarterly reporting period.
     These figures do not include time spent since December 1, 2019, certain pre-appointment time
27   deemed compensable by the Court’s July 3, 2018 Case Management Order No. 3 [Dkt. 148], or time
     spent by counsel in the JCCP Action. Similarly, the expenses do not include those advanced by
28   JCCP Counsel. Class Counsel will provide this information in their reply brief.
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 1 represents a multiplier of 3.16 on their current lodestar. See Vizcaino v. Microsoft Corp., 290 F.3d

 2 1043, 1051 n.6 (9th Cir. 2002) (noting multipliers of between 1.0 and 4.0 are “frequently awarded”);

 3 Smith v. CRST Van Expedited, Inc., No. 10-CV-1116-IEG (WMC), 2013 WL 163293, at *5 (S.D.

 4 Cal. Jan. 14, 2013) (“Under the percentage method, California has recognized that most fee awards

 5 based on either a lodestar or percentage calculation are 33 percent.”) (citing In re Consumer Privacy

 6 Cases, 175 Cal. App. 4th 545, 556 n. 13 (2009)). The Court has been provided quarterly reports with

 7 precise information about the hours and lodestar for Class Counsel and committee members, which

 8 Class Counsel and others carefully reviewed prior to their submission. And Class Counsel will

 9 continue to submit quarterly reports with such information to the Court. Prior to submission of Class

10 Counsel’s request for an award for Attorneys’ Fees and Costs, Class Counsel will disclose their

11 lodestar and the amount of fees they intend to seek to Apple, which Apple reserves the right to object

12 and oppose. Stip. §§ 8.1-8.2.

13           Class Counsel will also seek reimbursement for expenses that are necessarily incurred in

14 litigation and routinely charged to clients billed by the hour. These expenses include, among others,

15 court fees, service of process, consultant fees, mediation costs, online legal and factual research,

16 travel costs, reproduction costs, database expenses, and messenger, courier, and overnight mail

17 expenses. These expenses were critical to Class Counsel’s success in achieving this Settlement.

18                          f.      Guidance 7: The Proposed Settlement and Proposed Service
                                    Awards Do Not Unjustly Favor Any Class Members, Including
19                                  Named Plaintiffs
20           Class Counsel intends to seek a Service Award of $1,500 for each Named Plaintiff who was

21 not subjected to deposition and $3,500 for the nine Named Plaintiffs who were deposed in the Action.

22 Stip. § 8.4. The Service Awards do not unjustly favor any Settlement Class Members.

23           In evaluating whether the Settlement grants preferential treatment to Named Plaintiffs, the

24 Court may consider whether there is a “significant disparity between the incentive award[] and the

25 payments to the rest of the class members” such that it creates a conflict of interest. Radcliffe v.

26 Experian Info. Solutions, Inc., 715 F.3d 1157, 1165 (9th Cir. 2013). Important considerations are

27 “the number of class representatives, the average incentive award amount, and the proportion of the

28 total settlement that is spent on incentive awards.” In re Online DVD-Rental Antitrust Litig., 779
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 1 F.3d 934, 947 (9th Cir. 2015) (quoting Staton, 327 F.3d at 977). A court may also consider “the

 2 actions the plaintiff has taken to protect the interests of the class, the degree to which the class has

 3 benefitted from those actions, [and] the amount of time and effort the plaintiff expended in pursuing

 4 the litigation.” Staton, 327 F.3d at 977; In re Magsafe Apple Power Litig., No. 5:09-CV-01911-EJD,

 5 2015 WL 428105, at *15 (N.D. Cal. Jan. 30, 2015). Finally, the Court must evaluate whether a

 6 conflict exists due to the incentive award being conditioned on the class representative’s approval

 7 and support of the Settlement. Radcliffe, 715 F.3d at 1161.

 8           The Service Awards requested here for most of the Named Plaintiffs are below the accepted

 9 range. “Incentive awards typically range from $2,000 to $10,000.” Bellinghausen v. Tractor Supply

10 Co., 306 F.R.D. 245, 267 (N.D. Cal. 2015) (collecting cases). Courts in the Northern District of

11 California have found that a $5,000 incentive award is presumptively reasonable. In re Linkedin

12 User Privacy Litig., 309 F.R.D. 573, 592 (N.D. Cal. 2015); Rosado v. Ebay Inc., No. 5:12-cv-04005-

13 EJD, 2016 WL 3401987, at *9 (N.D. Cal. June 21, 2016). And, because the Settlement is not

14 conditioned on the Court’s approval of the full (or any) amount of a Service Award, the Settlement

15 does not grant preferential treatment to Named Plaintiffs. Stip. § 8.6.

16           While the amount requested per Named Plaintiff represents several times more than the

17 estimated monetary benefit per Settlement Class Member, this does not rise to the level of unduly

18 preferential treatment. Courts have approved similar or greater disparities between incentive awards

19 and individual class member payments. See Linkedin, 309 F.R.D. at 582 (approving a $5,000

20 incentive award where class members would receive approximately $14.81); Cox v. Clarus Mktg.

21 Group, LLC, 291 F.R.D. 473, 483 (S.D. Cal. 2013) (approving a $5,000 incentive award where class

22 members would receive a maximum payment of $36); Fulford v. Logitech, Inc., No. 08-cv-02041

23 MMC, 2010 WL 807448, at *3 n.1 (N.D. Cal. Mar. 5, 2010) (collecting cases awarding incentive

24 award payments ranging from $5,000 to $40,000).

25           More importantly, Named Plaintiffs seek, at most, only $216,000 (0.0007%) of the

26 $310 million Minimum Class Settlement Amount. This amount is reasonable considering how

27 minuscule the award is in relation to the full amount of the Settlement Fund. See Online DVD-

28 Rental, 779 F.3d at 947-948 (approving incentive awards that were roughly 417 times larger than
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 1 $12 individual awards because the awards were reasonable, the number of representatives were

 2 relatively small, and the total amount of incentive awards “ma[d]e up a mere 0.17% of the total

 3 settlement fund”); cf. Staton, 327 F.3d at 976-77 (reversing approval of incentive awards that

 4 averaged $30,000 each for 29 class representatives, totaling $890,000, or roughly 6% of a potential

 5 $14.8 million settlement). Thus, the Settlement does not improperly grant preferential treatment to

 6 Named Plaintiffs or segments of the Settlement Class. In re Portal Software, Inc. Sec. Litig., No. C-

 7 03-5138 VRW, 2007 WL 1991529, at *6 (N.D. Cal. June 30, 2007).

 8           The amount requested is also appropriate given the time and risk of Named Plaintiffs’

 9 participation in this Action. Named Plaintiffs spent more two years prosecuting this Action, and

10 have spent many hours reviewing pleadings, responding to hundreds of discovery requests,

11 reviewing and producing documents, and, for some, preparing for, traveling from out of state to, and

12 sitting for all-day depositions in Palo Alto, California. These factors further support and justify the

13 amount requested. See, e.g., Eddings v. Health Net, Inc., No. CV 10-1744-JST (RZX), 2013 WL

14 3013867, at *7 (C.D. Cal. June 13, 2013) (approving $6,000 service award from $600,000 settlement

15 to compensate the named plaintiff for her time, effort and risk in prosecuting the action).

16           Named Plaintiffs’ interests do not conflict with or diverge from the interests of the

17 Settlement Class. Radcliffe, 715 F.3d at 1161. Accordingly, the Court should preliminarily approve

18 the request for Service Awards.

19                           g.     Guidance 8: Cy Pres Awardees
20           The Parties will confer on the distribution of any remaining amount in the unlikely event

21 the Minimum Class Settlement Amount is not reached, even at payments of $500 per device. Stip.

22 § 5.3.3. Based on the manner in which payments will be made, including potentially a pro rata

23 increase of payments for each Approved Claim up to $500, the Parties do not anticipate any Residual

24 funds remaining in the otherwise non-reversionary Minimum Class Settlement Amount.

25 Nonetheless, if the total amount calculated does not reach the Minimum Class Settlement Amount

26 following the pro rata adjustment, the Parties will confer further, “with resolution subject to Court

27 approval.” Id. However, none of any Residual would revert to Apple under any circumstances.

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 1                           h.     Guidance 9: Proposed Timeline

 2           In connection with preliminary approval of the Settlement, the Court must also set dates for

 3 certain events. The Parties suggest a schedule based on the following intervals:

 4                          Event                             Proposed Time for Compliance
     Deadline for Apple to provide names, emails, Not later than thirty (30) days following entry of
 5   addresses, mailing addresses, and serial numbers the Preliminary Approval Order (see Preliminary
     to Settlement Administrator.                     Approval Order, ¶ 6).
 6   Deadline for Settlement Administrator to Not later than seventy-five (75) days of receipt of
     complete email and/or postcard notice (the information from Apple (see Preliminary
 7   “Notice Date”).                                  Approval Order, ¶ 7).
     Deadline for Class Members to submit Proof of Postmarked or submitted no later than forty-five
 8   Claim and Release Forms.                         (45) days from the Notice Date (see Preliminary
                                                      Approval Order, ¶ 10).
 9   Deadline for objectors to either deliver written Postmarked or submitted no later than forty-five
     objections by hand or postmarked/sent by First (45) days from the Notice Date (see Preliminary
10   Class Mail.                                      Approval Order, ¶ 11).
     Deadline for Class Members to submit a Request Postmarked or submitted no later than forty-five
11   for Exclusion, if desired.                       (45) days from the Notice Date (see Preliminary
                                                      Approval Order, ¶ 12).
12   Deadline to submit opening briefs and supporting Not later than sixty-five (65) days before the Final
     documents in favor of Final Approval of Hearing (see Preliminary Approval Order, ¶ 15)
13   Settlement.
     Deadline to submit opening briefs and supporting Not later than sixty-five (65) days before the Final
14   documents for motion for attorneys’ fees and Hearing (see Preliminary Approval Order, ¶ 15)
     incentive awards.
15   Final Hearing                                    The Court’s discretion (see Preliminary Approval
                                                      Order, ¶ 13).
16

17                           i.     Guidance 10: Class Action Fairness Act
18           Pursuant to Section 10 of the Guidance, and as required by the Class Action Fairness Act,

19 28 U.S.C. § 1711, et seq., notice will be borne and provided for by Apple upon the filing of this

20 motion. Stip. § 7.3.

21                           j.     Guidance 11: Past Distributions
22           Pursuant to Section 11 of the Guidance, Class Counsel submits that the settlements in In re:

23 Pre-Filled Propane Tank Marketing and Sales Practices Litigation, No. 4:09-md-02086-GAF (W.D.

24 Mo.), and In re: Vizio, Inc., Consumer Privacy Litigation, No. 8:16-ml-02693-JLS-KES (C.D. Cal.),

25 provide useful comparisons to this Settlement.

26

27

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                              In re: Pre-Filled Propane Tank       In re: Vizio, Inc., Consumer Privacy
 1                            Mktg and Sales Practices Litig.                       Litig.
                                 No. 4:09-md-02086-GAF                 No. 8:16-ml-02693-JLS-KES
 2                                      (W.D. Mo.)                               (C.D. Cal.)
     Settlement Fund       $15 million (min) - $35 million         $17 million
 3                         (max); injunctive relief
     Number of Class Unknown                                       16 million devices
 4   Members
     Number of Class 234,282 (via direct mail notice)              7,828,308 via direct email notice; 5
 5   Members Notice Was                                            million via direct notice on Vizio
     Sent                                                          Smart TVs
 6   Methods of Notice     Direct mail notice; summary notice      Direct display on TVs; email notice;
                           publication; circulation on product;    digital media campaign; nationwide
 7                         press release; website; toll-free       press release; settlement website
                           information line
 8   Claim         Forms 11,175+ (4+%) (timely submissions         511,562 (3.2%)
     Submitted (Number were also submitted after final
 9   and %)                approval)
     Avg. Recovery         Unknown; $7.50/product, up to           $18/device
10                         $150 maximum
     Amounts Distributed none                                      To be determined
11   to Cy Pres Recipients
     Administrative Costs Unknown (paid by defendants,             $200,000 estimated total, $122,823
12                         separate and apart from settlement      incurred as of Dec. 2019
                           fund)
13
     Attorneys’ Fees and $9.45 million (separate and apart         $5,610,000 and $181,808.59
14   Costs                 from settlement fund)

15           As noted above, given Defendant’s name recognition and the manners of notice in which
16 Settlement Class Members will be informed of this Settlement, Class Counsel expects a higher claims

17 rate than those in In re Pre-Filled Propane and In re Vizio.

18   VI.     CONCLUSION
19           For the reasons discussed herein, Named Plaintiffs respectfully request the Court certify a
20 Class for settlement purposes, preliminarily approve the proposed Settlement, approve Notice and

21 the selection of the Settlement Administrator, and set a hearing for final approval.

22                                               Respectfully submitted,
23                                               KAPLAN FOX & KILSHEIMER LLP
24     DATED: February 28, 2020                    s/ Laurence D. King
                                                      Laurence D. King
25
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28                                               Facsimile: 415-772-4707
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                     NOTICE OF MOT. AND MOT. FOR PRELIM. APPROVAL; MPA ISO THEREOF
     Case 5:18-md-02827-EJD Document 415 Filed 02/28/20 Page 35 of 36




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 9                                       COTCHETT, PITRE & MCCARTHY, LLP
10   DATED: February 28, 2020             s/ Joseph W. Cotchett
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12                                       Mark C. Molumphy (SBN 168009)
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                                         Interim Co-Lead Counsel for Plaintiffs
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                NOTICE OF MOT. AND MOT. FOR PRELIM. APPROVAL; MPA ISO THEREOF
      Case 5:18-md-02827-EJD Document 415 Filed 02/28/20 Page 36 of 36




 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2           I, Laurence D. King, attest that concurrence in the filing of this document has been

 3   obtained from the other signatory. I declare under penalty of perjury under the laws of the United

 4   States of America that the foregoing is true and correct.

 5           Executed this 28th day of February 2020, at Oakland, California.

 6
                                                       /s/ Laurence D. King
 7                                                         Laurence D. King
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